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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                             ...........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                         15-cv-07433-LAP



                                                                .....
GHISLAINE MAXWELL,

        Defendant.


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                          DECLARATION OF LAURA A. MENNINGER

I, Laura A. Menninger, declare as follows:

         1. I represent Ghislaine Maxwell in the above-captioned matter.

         2. Pursuant to this Court’s August 26, 2020 Order (Doc. #1107), directing the Original

Parties to serve Non-Party Notices on all remaining Non-Parties, as well as to Does 1 and 2 at

newly obtained addresses, and after conferral with Plaintiff’s counsel, undersigned counsel

agreed to serve Non-Party Notices to J. Doe 1 through J. Doe 92.

         3. Pursuant to the Order and Protocol for Unsealing Decided Motions (Doc. # 1108), I

used best efforts to obtain the most current addresses for J. Does 1 through J. Doe 92.

         4. I mailed each of the following documents to the Non-Parties listed below in the

manner described below: (1) Notice to Non-Parties of Possible Unsealing of Sealed Documents

(Doc. # 1044); (2) Non-Party’s Request for Excerpts of Sealed Documents and

Acknowledgement of Court Order and Protocol Governing the Excerpts (Id.); (3) Non-Party’s
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Objection to Unsealing (Id.); and (4) Order and Protocol for Unsealing Decided Motions

(Updated August 27, 2020) (Doc. # 1108) (collectively, “Non-Party Notices”).

       5. On September 11, 2020, I sent Non-Party Notices via first-class certified mail (return

receipt requested) and, for international addresses via UPS, to the following Non-Parties:

             •    J. Does 1 – 9
             •    J. Does 11 – 23
             •    J. Does 25 – 28
             •    J. Doe 30
             •    J. Doe 32
             •    J. Doe 34 – 39
             •    J. Doe 41 – 45
             •    J. Doe 47 – 50
             •    J. Doe 52 – 58
             •    J. Doe 60
             •    J. Doe 63 – 73
             •    J. Doe 75 – 76
             •    J. Doe 78 – 79
             •    J. Doe 82 – 84
             •    J. Doe 89 – 92
             •    J. Doe 105

       6. On September 11, I sent Non-Party Notices via e-mail to the following Non-Parties

for whom only an email address was available despite best efforts to locate a physical address:

              •   J. Doe 10
              •   J. Doe 77
              •   J. Doe 81

       7. For the following Non-Parties, I have not been able to locate an address and

therefore have not provided them a Non-Party Notice:

             •    J. Doe 29
             •    J. Doe 31
             •    J. Doe 33
             •    J. Doe 40
             •    J. Doe 46
             •    J. Doe 51



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             •   J. Doe 61 – 62
             •   J. Doe 74
             •   J. Doe 80
             •   J. Doe 85
             •   J. Doe 86
             •   J. Doe 88

        8. I have not sent a Non-Party to the following Non-Parties who are deceased:

             •   J. Doe 24
             •   J. Doe 59
             •   J. Doe 87


I hereby declare under penalty of perjury that the foregoing statements are true and correct.

Dated: September 11, 2020.

                                                 Respectfully submitted,

                                                 s/ Laura A. Menninger
                                                 Laura A. Menninger (LM-1374)
                                                 Jeffrey S. Pagliuca (pro hac vice)
                                                 Ty Gee (pro hac vice)
                                                 HADDON, MORGAN AND FOREMAN, P.C.
                                                 150 East 10th Avenue
                                                 Denver, CO 80203
                                                 Phone: 303.831.7364
                                                 Fax:     303.832.2628
                                                 lmenninger@hmflaw.com
                                                 Attorneys for Ghislaine Maxwell




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